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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK
________________________________________ X

TROLL COMPANY A/S, : 09 CIV. 0057 (DLC)
Plaintiff, :
: CORRECTED
-v- : PRETRIAL SCHEDULING
' ORDER
CELESTE STEIN DESIGNS, INC. and CELESTE

 

 

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De fendant s . : DOCUMENT

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As set forth at the pretrial conference held pursuant to
Rule 16, Fed.R.Civ.P., on April 24, 2009, the following schedule
shall govern the further conduct of pretrial proceedings in this
case:

1. The parties are instructed to contact the chambers of
Magistrate Judge Gorenstein prior to May 4, 2009 in order to
pursue settlement discussions under his supervision.

2. The parties shall comply with their Rule 26(a)(1),
Fed.R.Civ.P., initial disclosure obligations by May 4, 2009.

3. The following motion will be served by the dates indicated
below.

Defendants’ motion to dismiss

- Motion served by May 4, 2009
- Opposition served by June 5, 2009
- Reply served by June 12, 2009

At the time any Reply is served the moving party shall
supply two courtesy copies of all motion papers to Chambers
by delivering them to the Courthouse Mailroom, Bth Floor,
United States Courthouse, 500 Pearl Street, New York, New
York.

Dated: New York, New York
May 1, 2009

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D NISE COTE
United S ates District Judge

